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  1   Mike Arias (CSB #115385)
       mike@asstlawyers.com
  2   Alfredo Torrijos (CSB #222458)
       alfredo@asstlawyers.com
  3   ARIAS SANGUINETTI WANG & TORRIJOS, LLP
      6701 Center Drive West, 14th Floor
  4   Los Angeles, California 90045
      Telephone: (310) 844-9696
  5   Facsimile: (310) 861-0168
  6   Steven L. Woodrow (admitted pro hac vice)
        swoodrow@woodrowpeluso.com
  7   Patrick H. Peluso (admitted pro hac vice)
        ppeluso@woodrowpeluso.com
  8   Taylor T. Smith (admitted pro hac vice)
        tsmith@woodrowpeluso.com
  9   WOODROW & PELUSO, LLC
      3900 East Mexico Avenue, Suite 300
 10   Denver, Colorado 80210
      Telephone: (720) 213-0675
 11   Facsimile: (303) 927-0809
 12   Attorneys for Plaintiff and the Classes
 13
                            UNITED STATES DISTRICT COURT
 14                        CENTRAL DISTRICT OF CALIFORNIA
 15                              WESTERN DIVISION

 16
      Edwardo Munoz, individually and on
 17   behalf of all others similarly situated,             Case No. 2:18-cv-03893-RGK-AGR

 18                                 Plaintiff,                NOTICE OF PLAINTIFF’S
 19          v.                                               MOTION FOR FINAL
                                                              APPROVAL OF CLASS ACTION
 20   7-Eleven, Inc., a Texas corporation,                    SETTLEMENT AND
 21                                    Defendant.             MEMORANDUM IN SUPPORT

 22                                                           Date: November 4, 2019
 23                                                           Time: 9:00 a.m.
                                                              Judge: Hon. R. Gary Klausner
 24                                                           Courtroom: 850
 25                                                           Complaint Filed: May 9, 2018

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 27

 28
                  Notice of Plaintiff’s Motion for Final Approval of Class Action Settlement
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  1         PLEASE TAKE NOTICE that on Monday, November 4, 2019, at 9:00
  2   a.m., or as soon thereafter as counsel may be heard, counsel for Plaintiff Edwardo
  3   Munoz (“Plaintiff” or “Munoz”) shall appear before the Honorable R. Gary
  4   Klausner or any judge sitting in his stead in Courtroom 850 of the United States
  5   District Court for the Central District of California, Roybal Federal Building and
  6   U.S. Courthouse, 255 East Temple Street, Los Angeles, California 90012 and
  7   present Plaintiff’s Motion for Final Approval of Class Action Settlement.
  8         This motion is made pursuant to Federal Rule of Civil Procedure 23. As
  9   explained in the accompanying memorandum, final approval should be granted here
 10   because the class Settlement is fair, reasonable, and adequate. Further, the Court
 11   should find that the notice plan was reasonable, comports with due process, and was
 12   implemented in accordance with the Court’s preliminary approval Order.
 13         This Motion is based on this Notice and Motion, the Memorandum in
 14   Support of the Motion and the exhibits attached thereto, oral argument of counsel,
 15   and any other matter that may be submitted at the hearing.
 16
 17                                                  Respectfully submitted,
 18
 19
      Dated: October 7, 2019                         Edwardo Munoz, individually and on behalf
                                                     of all others similarly situated,
 20
 21                                         By:       /s/ Steven L. Woodrow
                                                     One of Plaintiff’s Attorneys
 22
 23                                                  Mike Arias (CSB #115385)
                                                      mike@asstlawyers.com
 24                                                  Alfredo Torrijos (CSB #222458)
                                                      alfredo@asstlawyers.com
 25                                                  ARIAS SANGUINETTI WANG &
                                                           TORRIJOS, LLP
 26                                                  6701 Center Drive West, 14th Floor
                                                     Los Angeles, California 90045
 27                                                  Telephone: (310) 844-9696

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                                                   Facsimile: (310) 861-0168
  1
                                                   Steven L. Woodrow (admitted pro hac vice)
  2                                                  swoodrow@woodrowpeluso.com
                                                   Patrick H. Peluso (admitted pro hac vice)
  3                                                  ppeluso@woodrowpeluso.com
                                                   Taylor T. Smith (admitted pro hac vice)
  4                                                  tsmith@woodrowpeluso.com
                                                   WOODROW & PELUSO, LLC
  5                                                3900 East Mexico Avenue, Suite 300
                                                   Denver, Colorado 80210
  6                                                Telephone: (720) 213-0675
                                                   Facsimile: (303) 927-0809
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  1   I.    Introduction
  2         The class action Settlement reached in this case—which seeks to resolve the
  3   claims brought against Defendant 7-Eleven, Inc. (“Defendant” or “7-Eleven”)
  4   challenging its alleged use of an improper consumer report disclosure form under
  5   the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (“FCRA” or “Act”)—has
  6   been a success. Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”) now respectfully
  7   moves the Court for an order granting final approval to the Settlement.
  8         In accordance with the Court’s Order granting preliminary approval, class
  9   notice was disseminated by direct mail and email to 52,004 class members, which
 10   alerted the members to the existence of the Settlement and encouraged them to file
 11   claims. Overall, the response to the Settlement has been positive. Only 19 opt-outs
 12   have been received and no objections were filed. As of October 7, 2019, 1,914
 13   claims have been filed. Consequently, the payments to class members will total
 14   $550 each. Further, 7-Eleven has agreed to make changes to its hiring practices to
 15   fix the alleged issues in its FCRA disclosure. These benefits are fair, reasonable,
 16   and adequate and worthy of final approval.
 17         As such, and as explained below, the Court should grant final approval.
 18   II.   Legal, Factual, And Procedural Background.
 19         A.     The FCRA
 20         The FCRA requires that employers, prior to procuring any consumer report
 21   about their job applicants or employees, provide a disclosure and authorization
 22   informing the applicants or employees that such a report may be procured about
 23   them for employment purposes. The disclosure and authorization must be “clear
 24   and conspicuous” and presented “in a document that consists solely of the
 25   disclosure.” See § 1681b(b)(2)(A)(i). The Ninth Circuit has made clear that the
 26   inclusion of any extraneous information in the disclosure, beyond those expressly
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  1   authorized by the statute, violates the FCRA. See Gilberg v. California Check
  2   Cashing Stores, LLC, 913 F.3d 1169, 1175 (9th Cir. 2019) (“We concluded the
  3   statute meant what it said: the required disclosure must be in a document that
  4   ‘consist[s] ‘solely’ of the disclosure.’”).
  5          Were the case to proceed, Plaintiff believes that he would ultimately be able
  6   to show that 7-Eleven’s Disclosure Regarding Background Investigation
  7   (“Disclosure”) willfully violated the FCRA’s stand-alone disclosure requirement. 7-
  8   Eleven’s form combines the disclosures regarding consumer reports and
  9   investigative consumer reports and includes other extraneous information—
 10   including, statements about Sterling Talent Solutions, vague references to state
 11   statutory provisions, and a blanket authorization allowing the disclosure of
 12   information directly to 7-Eleven. Further, Plaintiff would be able to demonstrate
 13   that 7-Eleven had the resources to comply with the FCRA and that its failure to do
 14   so was willful.
 15          B.     Plaintiff’s Claims And The Litigation Process.
 16          Prior to initiating this Action, Class Counsel undertook an extensive
 17   investigation into Plaintiff Munoz’s employment with 7-Eleven. (See Declaration of
 18   Steven L. Woodrow (“Woodrow Decl.”), attached hereto as Ex. A.) The
 19   investigation included interviewing Munoz regarding his employment and
 20   requesting and obtaining Munoz’s employment file from 7-Eleven, which included
 21   the Disclosure Regarding Background Investigation, among other documents.
 22   (Woodrow Decl. ¶¶ 5-7.) Following a thorough review of these documents, publicly
 23   available information, and additional conversations with Munoz, Class Counsel
 24   determined that a good faith basis existed to pursue the case as an alleged class
 25   action. (Id. ¶¶ 8-9.)
 26          On May 9, 2018, Plaintiff filed his class action complaint in the United States
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   1   District Court for the Central District of California against 7-Eleven alleging
   2   violations of the FCRA, which was subsequently amended on July 9, 2018. (See
   3   Dkts. 1, 23.) Shortly thereafter, 7-Eleven moved to dismiss the Complaint. (See
   4   Dkt. 24.) On September 5, 2018, following full briefing, the Court issued its Order
   5   denying Defendant’s motion to dismiss. (See Dkt. 37.) In addition, Plaintiff filed his
   6   Motion for Class Certification, which was fully briefed by the Parties. (Dkts. 33, 38,
   7   40.) On October 18, 2018, the Court issued its Order certifying Plaintiff’s proposed
   8   classes. (See Dkt. 43.)
   9         Plaintiff then worked to develop a notice plan, which the Court approved on
  10   February 12, 2019. (Dkt. 50.) The Parties then coordinated to disseminate the
  11   Notice. This included working with class action administrator Kurtzman Carson
  12   Consultants, LLC (“KCC”) to finalize the notices and ensure that they were sent to
  13   the class members. (Woodrow Decl. ¶ 15.) After notice was disseminated, Class
  14   Counsel began to field near-daily calls from class members seeking additional
  15   information about the case, which required counsel to devote considerable time
  16   assisting class members with their questions. (Id.)
  17         The Parties also engaged in extensive discovery. (Woodrow Decl. ¶ 16.) This
  18   included serving and responding to discovery requests and taking depositions—
  19   Class Counsel deposed 7-Eleven’s corporate representative in Dallas, Texas on
  20   January 30, 2019, and counsel for 7-Eleven deposed Plaintiff Munoz on February
  21   20, 2019 in Newport Beach, CA. (Id.) Plaintiff also conducted third-party discovery
  22   through a subpoena issued to Sterling, the background check provider. (Id.) Counsel
  23   for both Parties regularly met-and-conferred regarding discovery disputes and,
  24   when necessary, raised the disputes with the Court. (Id.)
  25         C.     The Mediation Process And Settlement History.
  26         In early 2019, the Parties discussed the possibility of scheduling a private
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   1   mediation session. (Woodrow Decl. ¶ 19.) The Parties eventually agreed to convene
   2   on April 9, 2019 in Toronto, Ontario, Canada for a full-day mediation session with
   3   Michael E. Dickstein—an internationally-recognized and well-respected mediator
   4   with substantial class action experience. (Id. ¶¶ 20-21.) The mediation was
   5   adversarial with both Parties discussing their respective claims and planned
   6   defenses. (Id. ¶ 21.) The Parties were unable to reach an agreement that day. (Id.)
   7   Instead, the Parties agreed to proceed with briefing and arguing their cross motions
   8   for summary judgment and preparing for the impending trial. (Id.) At the same
   9   time, the Parties also agreed that they would continue their settlement discussions.
  10   (Id. ¶ 22.)
  11          In the midst of trial preparation—including compiling exhibit lists, witness
  12   lists, drafting their memorandum of contentions of law and fact, drafting their jury
  13   instructions, and holding the Rule 16-2 meeting—and with the continued assistance
  14   and oversight of the mediator, the Parties reached an agreement in principal to
  15   resolve the claims. (Woodrow Decl. ¶ 24.) Only after an agreement was reached in
  16   principal with respect to the class members did the Parties discuss an incentive
  17   award for the Class Representative and an award of reasonable attorneys’ fees for
  18   Class Counsel. (Id.)
  19          On July 30, 2019, the Court granted preliminary approval to the Settlement
  20   Agreement. (Dkt. 91.) Following preliminary approval, Class Counsel worked with
  21   KCC to finalize the notice documents—including the claim form, long form notice,
  22   short form (postcard) notice, the email notice, the Settlement Website, and the
  23   interactive voice recording (IVR) messaging. (Woodrow Decl. ¶ 28.) Counsel then
  24   worked to ensure that the notice was properly and timely disseminated by the
  25   Settlement Administrator to the class members. (Id. ¶ 29.) Class Counsel continues
  26   to receive inquiries from class members who require assistance with the claims
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   1   process. (Id. ¶ 30.) The claims deadline was originally scheduled to close on
   2   September 23, 2019. (Id. ¶ 33.) After reviewing the claims to date, Class Counsel
   3   reached out to 7-Eleven’s counsel who agreed that the deadline for filing claims
   4   should be extended to match the objection/exclusion deadline, October 4, 2019. (Id.
   5   ¶¶ 33-34.) A notice was placed on the Settlement Website advising Settlement
   6   Class Members of their opportunity to submit claims through October 4, 2019. The
   7   extension ultimately resulted in an additional 150 class members filing claims,
   8   which brings the claims rate to 3.67%. (Id. ¶ 38.)
   9          The end result is a Settlement Agreement that is particularly strong and
  10   compares favorably to other FCRA settlements. As such, the Court should find that
  11   the agreement is fair, reasonable, and adequate, and thus warrants final approval.
  12   III.   Key Settlement Terms
  13          The precise terms of the Settlement are set forth in the attached Settlement
  14   Agreement. (See Settlement Agrmt., Dkt. 90, Ex. A.) Below is a brief summary of
  15   the essential terms.
  16          A.    Class Definition
  17          The “Class” is defined as all persons who fall into the definition of either
  18   class certified by the Court in its Order granting Class Certification (dkt. 43). The
  19   Classes are defined as follows:
  20          Disclosure Class: All persons in the United States who (1) from a
  21          date [two years] prior to the filing of this initial complaint in this
  22          action to the date notice is sent to the Disclosure Class; (2) applied for
  23          employment with Defendant; (3) about whom Defendant procured a
  24          consumer report; and (4) who were provided the same form FCRA
  25          disclosure and authorization as the disclosure and authorization form
  26          that Defendant provided to Plaintiff.
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   1         California Subclass: All members of the Disclosure Class who reside
   2         in California.
   3   (Settlement Agrmt. § 1.7.)
   4         B.      Monetary Relief
   5         The Settlement provides class members who file valid claims with substantial
   6   monetary relief. Specifically, 7-Eleven has agreed to establish a Settlement Fund of
   7   $1,972,500 (“Settlement Fund”). (Settlement Agrmt. § 1.43.) The Settlement Fund
   8   will be used to pay all approved claims (up to a maximum per-claim amount of
   9   $550), Settlement Administration Expenses, any Incentive Award, and any Fee
  10   Award. After the subtraction of the Settlement Administration Expenses, any
  11   Incentive Award, and any Fee Award from the Settlement Fund, the remaining
  12   amount—the Net Settlement Fund—will be divided by the total number of
  13   approved claims. Each class member who submits an approved claim shall be
  14   entitled to receive one (1) Claimant Payment. Claimant Payments will be of equal
  15   value, up to a maximum of $550, and will be calculated by dividing the Net
  16   Settlement Fund by the total number of approved claims. Any monies remaining in
  17   the Settlement Fund will be donated to the Cy Pres Recipient.
  18         Based on the current number of claims filed, each Claimant Payment will be
  19   worth $550.
  20         C.      Prospective Relief
  21         7-Eleven has also agreed to remedy the very issues that gave rise to the
  22   instant litigation. That is, on a going-forward basis 7-Eleven will utilize, as required
  23   by the FCRA, a stand-alone disclosure that does not contain any extraneous
  24   information. (Settlement Agrmt. § 2.2.)
  25         D.      Release Of Liability
  26         In exchange for the relief described above, 7-Eleven will receive a release of
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   1   any claims relating to the factual allegations that gave rise to the case that belong to
   2   Plaintiff and any class member who does not opt-out. (Settlement Agrmt. § 3.) On
   3   July 18, 2019, the Court issued an Order requiring the Parties to narrow the release
   4   to the allegations of the Complaint. (Dkt. 89.) The Parties made this change and the
   5   Court granted preliminary approval on July 30, 2019. (Dkt. 91.)
   6         As explained below, the terms of the Settlement are fair, reasonable, and
   7   adequate for the Classes and the Court should grant final approval.
   8   IV.   The Notice Plan Was Reasonable And Comports With Due Process
   9         Prior to granting final approval to a class action settlement, the Court “must
  10   direct notice in a reasonable manner to all class members who would be bound by
  11   the proposal.” Fed. R. Civ. P. 23(e)(1)(B); see also Rodriguez v. West Publishing
  12   Corp., 563 F.3d 948, 962 (9th Cir. 2009). For any class certified under Fed. R. Civ.
  13   P. 23(b)(3), “‘the court must direct to class members the best notice that is
  14   practicable under the circumstances, including individual notice to all members who
  15   can be identified through reasonable effort.’” Simpao v. Gov’t of Guam, 369
  16   Fed.Appx. 837, 838 (9th Cir. 2010) (quoting Fed. R. Civ. P. 23(c)(2)(B)). “These
  17   requirements are designed to ensure that class notice procedures comply with the
  18   demands of due process.” Rannis v. Recchia, 380 Fed.Appx. 646, 650 (9th Cir.
  19   2010) (citing Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 173 (1974)). Due process
  20   does not require that every class member actually receive notice. Id. Rather, “due
  21   process requires reasonable effort to inform affected class members through
  22   individual notice, not receipt of individual notice.” Id. A notice plan that reaches at
  23   least 70% of the class members is generally considered reasonable. FEDERAL
  24   JUDICIAL CENTER, Managing Class Action Litigation: A Pocket Guide for
  25   Judges, Third Edition (2010).
  26         The language of the notice is “satisfactory if it ‘generally describes the terms
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   1   of the settlement in sufficient detail to alert those with adverse viewpoints to
   2   investigate and to come forward and be heard.’” Rodriguez, 563 F.3d at 962
   3   (quoting Churchill Vill., LLC v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004)); see
   4   also Lane v. Facebook, Inc., 696 F.3d 811, 826 (9th Cir. 2012). The notice must
   5   state: the nature of the action; the definition of the class certified; the class claims,
   6   issues, or defenses; that a class member may enter an appearance through an
   7   attorney if the member so desires; that the court will exclude from the class any
   8   member who requests exclusion; the time and manner for requesting exclusion; and
   9   the binding effect of a class judgment. Fed. R. Civ. P. 23(c)(2)(B). The notice is
  10   considered “adequate if it may be understood by the average class member.” See
  11   Alba Conte & Herbert B. Newberg, Newberg on Class Actions § 11:53 at 167 (4th
  12   ed. 2002).
  13         Following the Court’s grant of preliminary approval, the Parties worked with
  14   the administrator, KCC, to implement the notice plan consistent with the
  15   requirements of the preliminary approval Order. (See Declaration of Gio Santiago
  16   (“Santiago Decl.”), attached hereto as Ex. B.) KCC utilized the Class List
  17   previously provided by 7-Eleven to disseminate notice of the settlement to the class
  18   members. (Santiago Decl. ¶ 13.) KCC located addresses and mailed noticed to
  19   52,004 class members (out of a potential 52,159 class members). (Id. ¶ 15.)
  20   Ultimately, direct mail notice reached 48,039 class members, or 92.10% of the class
  21   members. (Id. ¶ 18.) Further, KCC was able to locate email addresses and provide
  22   notice via electronic mail to 49,422 class members, or 94.79% of all class members.
  23   (Id. ¶ 14.) KCC also established and maintained a Settlement Website
  24   (7elevenfcralawsuit.com), which was used by class members to submit claims
  25   electronically. (Id. ¶ 11.) Overall, the reach of the notice plan was a tremendous
  26   success.
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   1         The direct mail notice apprised class members of the existence of the
   2   Settlement Website, which hosted the “Long Form” notice approved by the Court,
   3   provided details regarding key deadlines and the rights of class members to object
   4   or opt-out of the Settlement, and allowed class members to file claims either
   5   electronically or by mail. (Santiago Decl. ¶ 11.) Likewise, the email notice also
   6   apprised class members of their rights and referred them to the Settlement Website.
   7   As of October 7, 2019, the website has been viewed by 18,271 unique visitors. (Id.)
   8         Following the dissemination of the Notice, the Parties began receiving
   9   weekly reports from KCC regarding the status of the claims process. The initial
  10   figures were slightly lower than the Parties had originally forecasted. (Woodrow
  11   Decl. ¶ 33.) Class Counsel reached out to 7-Eleven’s counsel regarding extending
  12   the claims period to give class members more time to submit claims. (Id.)
  13   Following these discussions, the Parties agreed to extend the deadline to file claims
  14   from September 23, 2019 until October 4, 2019 (to match the objection/exclusion
  15   deadline). (Id. ¶ 34.) As a result, one hundred fifty additional class members were
  16   able to file claims and participate in the Settlement. (Id. ¶ 35.)
  17         Finally, both the mailed and emailed notices used simple, plain, and easy to
  18   understand language. The notice clearly explained the class members’ rights and
  19   provided contact information for class members to reach out to Class Counsel with
  20   additional questions. Class Counsel have steadily received calls from class members
  21   requesting additional information or assistance with filing claims.
  22         In short, the notice to the class members complied with the Court’s
  23   Preliminary Approval Order, Fed. R. Civ. P. 23, and Due Process.
  24   V.    The Settlement Should Receive Final Approval.
  25         Rule 23(e) provides that a class action may only be settled, voluntarily
  26   dismissed, or compromised with the approval of the court. Fed. R. Civ. P. 23(e). In
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   1   general, there exists a “strong judicial policy that favors settlements, particularly
   2   where complex class action litigation is concerned.” Class Plaintiffs v. City of
   3   Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992). Before a Court can approve the
   4   settlement, it must make a finding that final approval is warranted. See Nat’l Rural
   5   Telecomm. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 525 (C.D. Cal. 2004) (citing
   6   Manual for Complex Litig., Third, § 30.41, at 236–37 (1995)). “The ‘universally
   7   applied standard’ in determining whether a court should grant final approval to a
   8   class action settlement is whether the settlement is ‘fundamentally fair, adequate,
   9   and reasonable.’” Id.; see also Fed. R. Civ. P. 23(e)(2). “[W]hether a settlement is
  10   fundamentally fair within the meaning of Rule 23(e) is different from the question
  11   whether the settlement is perfect in the estimation of the reviewing court.” Lane,
  12   696 F.3d at 819.
  13         To decide whether a settlement is fair, adequate, and reasonable, a court may
  14   examine the following factors: (1) the strength of the plaintiff's case; (2) the risk,
  15   expense, complexity, and likely duration of further litigation; (3) the risk of
  16   maintaining class action status throughout the trial; (4) the amount offered in
  17   settlement; (5) the extent of discovery completed and the stage of the proceedings;
  18   (6) the experience and views of counsel; (7) the presence of a governmental
  19   participant; and (8) the reaction of the class members to the proposed settlement.1
  20   Lane, 696 F.3d at 819 (citing Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th
  21   Cir. 1998)). Further, “‘[s]ettlements are afforded a presumption of fairness if: (1)
  22   the negotiations occurred at arm's length; (2) there was sufficient discovery; (3) the
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       1
        In December 2018, Fed. R. Civ. P. 23 was amended to include a list of factors to
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       consider prior to approval. However, the advisory committee’s notes explain that
  25   “each circuit has developed its own vocabulary for expressing these concerns,” and
       the newly codified factors are not intended “to displace any factor, but rather to
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       focus the court and the lawyers on the core concerns of procedure and substance.”
  27   See Fed. R. Civ. P. 23(e)(2).
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   1   proponents of the settlement are experienced in similar litigation; and (4) only a
   2   small fraction of the class objected.’” Marin v. General Assembly Space, Inc., Case
   3   No.: CV 17-05449-sjo-ksx, 2018 WL 4999955, at *9 (C.D. Cal. July 31, 2018).
   4         A review of each of the final approval factors demonstrates that the instant
   5   Settlement is “fair, reasonable, and adequate” and warrants final approval.
   6         A.     The Strength Of Plaintiff Munoz’s Case Supports Approval.
   7         The first factor examines “the likelihood of success on the merits and the
   8   range of possible recovery.” Eisen v. Porche Cars North America, Inc., No. 2:11–
   9   cv–09405–CAS–FFMx, 2014 WL 439006, at *3 (C.D. Cal. Jan. 30, 2014) (citing
  10   Rodriguez v. W. Publ'g Corp., 563 F.3d 948, 964–65 (9th Cir. 2009)). In evaluating
  11   this factor, “the Court need not ‘reach any ultimate conclusions on the contested
  12   issues of fact and law which underlie the merits of the dispute, for it is the very
  13   uncertainty of the outcome in litigation and avoidance of wasteful and expensive
  14   litigation that induce consensual settlements.’” Id. Instead, “the court may presume
  15   that, through negotiation, the parties, their counsel, and the mediator arrived at a
  16   reasonable range of settlement by considering Plaintiffs' likelihood of recovery.”
  17   Rodriguez v. Kraft Food Group, Inc., Case No.: 1:14-cv-1137-LJO-EPG, 2016 WL
  18   5844378, at *6 (E.D. Cal. Oct. 5, 2016).
  19         Plaintiff and Class Counsel are confident in the strength of the case and their
  20   ability to succeed on the merits. Were they to succeed at trial, the recovery would
  21   have been substantial—under the FCRA, each willful violation provides for
  22   damages in the range of $100 to $1,000. See 15 U.S.C. § 1681n(a). When
  23   considering the Classes consist of 52,159 members in total, the range of potential
  24   recovery could fall between $5,215,900 and $52,159,000. Still, this result only
  25   materializes if Plaintiff succeeds at trial (and on appeal, which was a guarantee no
  26   matter which side prevailed at trial). Despite confidence in the strength of the case,
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   1   litigation is inherently unpredictable. For its part, 7-Eleven was prepared to mount a
   2   vigorous defense at trial and on appeal. Further, a significant portion of the trial was
   3   likely to revolve around the issue of willfulness, which is a required showing for the
   4   FCRA’s statutory damages provision to be triggered. In other words, if the jury in
   5   this case ultimately did not find that 7-Eleven’s violations were willful, the class
   6   members would have received nothing. Moreover, given that 7-Eleven was
   7   prepared to appeal any decision or verdict, the issues wouldn’t be resolved anytime
   8   soon. Rather, the litigation could have stretched on for years with the potential for
   9   no recovery at all. By contrast, the Settlement at hand provides immediate and
  10   meaningful relief to Plaintiff and the Classes, which takes into consideration the
  11   strengths and weaknesses of the claims. Thus, this factor favors approval.
  12         B.     The Risk, Expense, Complexity, And Duration Of Continued
  13                Litigation Support Approval As Well.
  14         The next factor examines “the risk, expense, complexity, and likely duration
  15   of further litigation.” Nat’l Rural Telecomm. Coop., 221 F.R.D. at 525 . There exists
  16   a “‘strong judicial policy that favor[s] settlements, particularly where complex class
  17   action litigation is concerned.’” Brown v. CVS Pharmacy, Inc., Case No. CV15–
  18   7631 PSG (PJWx), 2017 WL 3494297, at *3 (C.D. Cal. Apr. 24, 2017) (quoting
  19   Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1238 (9th Cir. 1998)). Further,
  20   “‘unless the settlement is clearly inadequate, its acceptance and approval are
  21   preferable to lengthy and expensive litigation with uncertain results.’” Nat’l Rural
  22   Telecomm. Coop., 221 F.R.D. at 526 (quoting 4 A Conte & H. Newberg, Newberg
  23   on Class Actions, § 11:50 at 155 (4th ed. 2002)). “Immediate receipt of money
  24   through settlement, even if lower than what could potentially be achieved through
  25   ultimate success on the merits, has value to a class, especially when compared to
  26   risky and costly continued litigation.” In re Linkedin User Privacy Litig., 309
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   1   F.R.D. 573, 587 (N.D. Cal. 2015).
   2         The risk, expense, complexity, and duration of continued litigation would be
   3   substantial. While Plaintiff is confident in this case, uncertainties exist, including
   4   the Court’s potential rulings on the cross-motions for summary judgment and the
   5   impending trial. Regardless of the verdict following summary judgment or trial, the
   6   prospect of an appeal is all but certain. Were this case to continue, it could stretch
   7   on for years with the potential for no recovery at all. On the other hand, the
   8   Settlement presented to the Court provides class members who file timely claims
   9   with immediate cash payments and corrects the very issue that gave rise to the
  10   litigation. Indeed, immediate recovery is preferred to protracted and expensive
  11   litigation. See Wilson v. Gateway, Inc., Case No. CV 09–7560–GW(VBKx), 2014
  12   WL 12704846, at *4 (C.D. Cal. Oct. 6, 2014). As a result of these risks, this factor
  13   weighs in favor of approval as well.
  14         C.     The Risk Of Maintaining Class Action Status Also Favors
  15                Approval.
  16         The next factor asks whether there exists a risk to maintaining class
  17   certification. The fact that the Court previously certified the Classes does not negate
  18   this factor. Rather, “[p]ursuant to Rule 23, the Court may revisit a prior order
  19   granting certification of a class at any time before final judgment.” Rodriguez v.
  20   Bumble Bee Foods, LLC, Case No.: 17cv2447-MMA (WVG), 2018 WL 1920256,
  21   at *3 (S.D. Cal. Apr. 24, 2018); see also Rodriguez, 563 F.3d at 966 (“[a] district
  22   court may decertify a class at any time.”). “Where there is a risk of maintaining
  23   class action status throughout the trial, this factor favors approving the settlement.”
  24   Id.; see also Dorsette v. TA Operating LLC, Case No. ED CV 09-1350 PA (RZx),
  25   2010 WL 11583002, at *4 (C.D. Cal. July 26, 2010) (“the avoidance of the risk of
  26   maintaining class action certification throughout trial favors settlement of this
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   1   action”).
   2          Here, on October 18, 2018, the Court granted class certification to Plaintiff’s
   3   two proposed classes. (Dkt. 43.) 7-Eleven vigorously opposed class certification,
   4   and repeatedly indicated that it planned on appealing that ruling following any
   5   adverse decision on the merits. Given 7-Eleven’s uniform hiring practices, Plaintiff
   6   is confident in his ability to maintain class certification status. However, there still
   7   exists the ever-present risk that the Court could decide to decertify or limit the size
   8   of the Classes at any point up until final judgment. And even if the risk appears
   9   slight, this factor still weighs in favor of approval if it would remove all possible
  10   risk. See McKenzie v. Federal Exp. Corp., No. CV 10–02420 GAF (PLAx), 2012
  11   WL 2930201, at *4 (C.D. Cal. July 2, 2002) (“the Court cannot perceive any
  12   heightened risk of decertification in this case. Nonetheless, settlement avoids all
  13   possible risk. This factor therefore weighs in favor of final approval”). Furthermore,
  14   an appeal would present a second review of the Court’s decision to grant
  15   certification.
  16          Because there still exists a risk of decertification, this factor favors approval.
  17          D.        The Amount Offered In Settlement Should Be Approved.
  18          The next factor asks the Court to compare the amount offered in settlement to
  19   the amount of damages available to the class in a successful litigation. See Litty v.
  20   Merrill Lynch & Co., Inc., Case No. CV 14–0425 PA (PJWx), 2015 WL 4698475,
  21   at *9 (C.D. Cal. Apr. 27, 2015). However, “‘it is the very uncertainty of outcome in
  22   litigation and avoidance of wasteful and expensive litigation that induce consensual
  23   settlements.’ The proposed settlement is [thus] not to be judged against a
  24   hypothetical or speculative measure of what might have been achieved by the
  25   negotiators.” In re Toys R Us-Delaware, Inc.—Fair and Accurate Credit
  26   Transactions Act (FACTA) Litig., 295 F.R.D. 438, 453 (C.D. Cal. 2014) (citations
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   1   omitted). Further, “‘the very essence of a settlement is compromise, ‘a yielding of
   2   absolutes and an abandoning of highest hopes.’’” Id. (citations omitted). And it is
   3   “well-settled law that a proposed settlement may be acceptable even though it
   4   amounts to only a fraction of the potential recovery that might be available to the
   5   class members at trial.” Nat’l Rural Telecomm. Coop., 221 F.R.D. at 526 (citations
   6   omitted). Further, this factor is bolstered when the settlement is “the product of an
   7   arms-length, non-collusive, negotiated resolution.” Salmonson v. Bed Bath and
   8   Beyond, Inc., Case No. CV 2011-2293-SVW-SS, et al., 2013 WL 12171817, at *6
   9   (C.D. Cal. Mar. 14, 2013).
  10         7-Eleven has agreed to establish a $1,972,500 Settlement Fund from which
  11   claimants are currently set to receive $550 each. The Settlement was reached
  12   following an adversarial, full-day mediation session and more than a month of
  13   continued talks overseen by an experienced third-party neutral, Mr. Michael E.
  14   Dickstein. While the total potential recovery in this case could range from
  15   $5,215,900 to $52,159,000, these figures assume that Plaintiff succeeds at trial
  16   (both in showing that 7-Eleven violated the FCRA and that such violations were
  17   willful) and on appeal. This would have been very difficult given 7-Eleven’s
  18   apparent attempts to comply with the law. Moreover, the Settlement Agreement
  19   also requires 7-Eleven to make substantive changes to its background check
  20   procedures, which will benefit applicants and employees well into the future. Taken
  21   together, these results are impressive and worthy of final approval.
  22         The amount offered in Settlement is further bolstered when comparing the
  23   individual payments to class members ($550) to individual payments in similar
  24   FCRA settlements. See Aceves v. Autozone Inc., No. 5:14-cv-2032, Dkt. 58 (C.D.
  25   Cal. Nov. 18, 2016) ($20 - $40 per class member); see also Lavalle v. Chex
  26   Systems, Inc., 8:08–cv–01383 (C.D. Cal. 2011) ($82 per person); see also Kirchner
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   1   v. Shred-It USA Inc., Civ. No. 2:14–1437 WBS EFB, 2015 WL 1499115, at *11
   2   (E.D. Cal. Mar. 31, 2015) ($45.55 per class member); see also Feist v. Petco
   3   Animal Supplies, Inc., Case No.: 3:16-cv-01369-H-MSB, 2018 WL 6040801, at *5
   4   (S.D. Cal. Nov. 16, 2018) ($20 per disclosure class member); see also Estes v. L3
   5   Technologies, Inc., Case No.: 3:17-cv-02356-HLL, 2019 WL 141564, at *6 (S.D.
   6   Cal. Jan. 9, 2019) ($75 per class member); see also Moore v. Aerotek, Inc., Case
   7   No. 2:15-cv-2701, Case No. 2:16-cv-1066, 2017 WL 2838148, at *4 (S.D. Ohio
   8   June 30, 2017) ($13 - $80 per class member).
   9         Additionally, the Settlement is also reasonable when comparing the total
  10   Settlement Fund to FCRA actions with roughly similar class sizes. See Esomonu v.
  11   Omnicare, Inc., Case No. 15-cv-02003-HSG, 2019 WL 499750, at *8 (N.D. Cal.
  12   Feb. 8, 2019) (approving a $1.3 million settlement with roughly 50,000 class
  13   members); see also Feist v. Petco Animal Supplies, Inc., Case No.: 3:16-cv-01369-
  14   H-MSB, 2018 WL 6040801, at *7 (S.D. Cal. Nov. 16, 2018) (approving a $1.2
  15   million settlement with 37,000 class members); see also Pitt v. Kmart Corp., et al.,
  16   Case No. 3:11-cv-00697-JAG-MHL, Dkt. 75 (E.D. Va. May 24, 2013) (approving a
  17   $3 million settlement with 64,506 class members).
  18         Consequently, the Court should find that the Settlement provides meaningful
  19   relief to class members and compares favorably to other settlements in this space.
  20         E.     The Extent Of Discovery Completed And The Stage Of Litigation.
  21         “This factor requires the Court to evaluate whether ‘the parties have
  22   sufficient information to make an informed decision about settlement.’” In re OSI
  23   Systems, Inc. Derivative Litig., Case No. CV-14-2910-MWF (MRWx), 2017 WL
  24   5642304, at *4 (C.D. Cal. May 2, 2017) (quoting Linney v. Cellular Alaska
  25   Partnership, 151 F.3d 1234, 1239 (C.D. Cal. 2017)). “‘A court is more likely to
  26   approve a settlement if most of the discovery is completed because it suggests that
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   1   the parties arrived at a compromise based on a full understanding of the legal and
   2   factual issues surrounding the case.’” In re Toys R Us, 295 F.R.D. at 454 (citation
   3   omitted). Further, “‘[i]f all discovery has been completed and the case is ready to go
   4   to trial, the court obviously has sufficient evidence to determine the adequacy of
   5   settlement.’” Nat’l Rural Telecomm. Coop., 221 F.R.D. at 526 (quoting 4 A Conte
   6   & H. Newberg, Newberg on Class Actions, § 11:45 at 129 (4th ed. 2002)).
   7         That counsel possessed sufficient information to make an informed decision
   8   about settlement cannot be seriously questioned. Class Counsel spent several
   9   months investigating the claims prior filing the complaint. (Woodrow Decl. ¶¶ 3-9.)
  10   Further, counsel engaged in substantial discovery—including, serving and
  11   responding to multiple sets of discovery requests, serving a subpoena on Sterling
  12   Talent Solutions, deposing 7-Eleven’s corporate representative, defending
  13   Plaintiff’s deposition, meeting and conferring regarding discovery disputes, and
  14   raising those disputes with the Court when appropriate. (Id. ¶ 16.) Moreover, the
  15   Settlement was reached following the close of all discovery and in the midst of trial
  16   preparations. (Id. ¶ 24.) Indeed, all that was left was trial. In short, Class Counsel
  17   possessed sufficient evidence to make an informed decision. This factor supports
  18   approval as well.
  19         F.     The Experience And Views Of Class Counsel.
  20         The next factor considers Class Counsel’s experience and view of the
  21   adequacy of the Settlement. Generally, “[t]he recommendations of plaintiffs'
  22   counsel should be given a presumption of reasonableness.” In re Toys R Us, 295
  23   F.R.D. at 455 (quotation omitted). The presumption recognizes that experienced
  24   counsel “are better positioned than courts to produce a settlement that fairly reflects
  25   each party's expected outcome in litigation.” Id. (citing In re Pacific Enterprises
  26   Sec. Litig., 47 F.3d 373, 378 (9th Cir. 1995)). The presumption is strengthen when
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   1   counsel have experience in the claims being litigated. See Martin v. AmeriPride
   2   Services, Inc., No. 08cv440–MMA (JMA), 2011 WL 2313604, at *7 (S.D. Cal.
   3   June 9, 2011) (“Class Counsel have significant experience in both the substance of
   4   wage and hour claims as well as the procedures for class and collective actions. . .
   5   As such, their support of the settlement should be accorded significant
   6   consideration.”).
   7         Class Counsel support the Settlement as being in the best interests of the
   8   class members. (Woodrow Decl. ¶¶ 40, 44.) Further, given Class Counsel’s
   9   significant experience in class actions generally and FCRA class actions
  10   specifically, a strong presumption is warranted here. (See Woodrow Decl. ¶ 39; see
  11   also Class Counsel’s Firm Resume, attached hereto as Ex. C.) Moreover, the factor
  12   is bolstered when considering that Class Counsel faced seasoned defense counsel
  13   who were experienced in class litigation and prepared to mount a vigorous defense
  14   at trial and on appeal. (Woodrow Decl. ¶¶ 42-43.) Ultimately, the Settlement is the
  15   product of Class Counsel’s diligent work litigating this case—including, defeating a
  16   bid to dismiss the case, certifying two Classes, attending a full-day mediation,
  17   engaging in substantial discovery, and briefing cross-motions for summary
  18   judgment. Based on their experience with respect to FCRA class actions in general
  19   and this litigation in particular, Class Counsel believe that the Settlement provides
  20   meaningful relief in the form of substantial monetary payments and prospective
  21   relief. (Woodrow Decl. ¶ 40.) Further, when considering the prospect of the class
  22   members receiving nothing at all, this is an exceptional result for the class
  23   members.
  24         In short, this factor weighs in favor of approval.
  25         G.     The Presence Of A Government Participant.
  26         No government entity intervened or otherwise participated in this lawsuit. As
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   1   such, this factor does not undermine final approval. See Nat’l Rural Telecomm.
   2   Coop., 221 F.R.D. at 528. If anything, the absence of such a participant suggests
   3   that there is no other mechanism available for securing relief for the Class.
   4         H.     The Reaction Of The Class Members.
   5         “In order to gauge the reaction of other class members, it is appropriate to
   6   evaluate the number of requests for exclusion, as well as the objections submitted.”
   7   In re Toys R Us, 295 F.R.D. at 455. The deadline for class members to exclude
   8   themselves or file objections was October 4, 2019. In the end, no class member
   9   filed an objection to the Settlement. (Santiago Decl. ¶ 20.) Further, only 19 class
  10   members excluded themselves from the Settlement. (Id. ¶ 19.) The absence of
  11   objectors and relatively small number of opt-outs provides a strong signal of
  12   favorability by the class members. In re Toys R Us, 295 F.R.D. at 456 (“The
  13   negligible number of opt-outs and objections indicates that the class generally
  14   approves of the settlement.”).
  15         Further, the claims rate also suggests favorable reaction. The filing deadline
  16   has now passed, and 1,914 claims had been filed, or 3.67%. (Santiago Decl. ¶ 21.)
  17   The final claims rate is well within the typical claims rate for this Circuit. See
  18   Forcellati v. Hyland’s Inc., No. CV 12–1983–GHK (MRWx), 2014 WL 1410264
  19   (C.D. Cal. Apr. 9, 2014) (quoting Ferrington v. McAfee, Inc., at * 13, 2012 WL
  20   1156399 (N.D. Cal. Apr. 6, 2012) (“‘[T]he prevailing rule of thumb with respect to
  21   consumer class actions is [a claims rate of] 3–5 percent.’”)). As such, the final
  22   factor weighs in favor of approval, as well.
  23         In sum, the Settlement provides substantial relief for the class members,
  24   particularly in light of the risks faced in the litigation. The Settlement stacks up well
  25   against other similar settlements, and, perhaps not surprisingly, the response from
  26   the class members has been positive. As such, the Settlement warrants final
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   1   approval.
   2   VI.   Conclusion
   3         For the reasons stated above, Plaintiff respectfully requests that the Court
   4   enter an Order granting Final Approval to the Settlement Agreement reached in this
   5   case and provide such additional relief as the Court deems necessary and just.
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                                                      Respectfully Submitted,
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                                                      Edwardo Munoz, individually and on
                                                      behalf of all others similarly situated,
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  10   Dated: October 7, 2019                         By: /s/ Steven L. Woodrow
                                                            One of Plaintiff’s Attorneys
  11
  12                                                  Mike Arias (CSB #115385)
                                                        mike@asstlawyers.com
  13                                                  Alfredo Torrijos (CSB #222458)
  14                                                    alfredo@asstlawyers.com
                                                      ARIAS SANGUINETTI WANG &
  15                                                  TORRIJOS, LLP
  16                                                  6701 Center Drive West, 14th Floor
                                                      Los Angeles, California 90045
  17                                                  Telephone: (310) 844-9696
  18                                                  Facsimile: (310) 861-0168

  19                                                  Steven L. Woodrow (admitted pro hac vice)
  20                                                    swoodrow@woodrowpeluso.com
                                                      Patrick H. Peluso (admitted pro hac vice)
  21                                                    ppeluso@woodrowpeluso.com
  22                                                  Taylor T. Smith (admitted pro hac vice)
                                                        tsmith@woodrowpeluso.com
  23                                                  WOODROW & PELUSO, LLC
  24                                                  3900 East Mexico Avenue, Suite 300
                                                      Denver, Colorado 80210
  25                                                  Telephone: (720) 213-0675
  26                                                  Facsimile: (303) 927-0809
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   1                                CERTIFICATE OF SERVICE
   2         The undersigned hereby certifies that a true and correct copy of the above
   3   titled document was served upon counsel of record by filing such papers via the
   4   Court’s ECF system on October 7, 2019.
   5                                                  /s/ Steven L. Woodrow
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